     Case 1:06-cr-00027-AW-GRJ           Document 163        Filed 06/07/07   Page 1 of 1


                                                                                        Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:06-cr-00027-MP-AK

FREDERICK CHARLES HALL,

      Defendant.
___________________________/

                                           ORDER

       This Matter Is Before the Court on Doc. 161, Motion to Continue Disposition by

Frederick Charles Hall. The government does not object. The motion is granted, and the

disposition hearing is reset for Friday August 3, 2007, at 10:00 a.m.

       DONE AND ORDERED this 7th day of June, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
